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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


TONY DeWITT

       Plaintiff,

v.                                                   Civil Action No.: 1:18-cv-03202-DKC

WILLIAM RITZ, et al.

       Defendants.


                                 NOTICE OF APPEARANCE

Mr./Ms. Clerk:

       Please enter the appearance of Robert E. Joyce as an attorney for the Plaintiff in the

above-captioned matter.

                                                     Respectfully submitted,



                                                               /s/
                                                     Robert E. Joyce (#26427)
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                                                     Attorney for Plaintiff
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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this   11th   day of June, 2020, a copy of the foregoing

was sent via CM/ECF to:

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                                                                 /s/
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